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                                                   Exhibit A, in globo p. 1
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                                                   Exhibit A, in globo p. 2
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                                                   Exhibit A, in globo p. 3
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                                                   Exhibit A, in globo p. 4
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                                                   Exhibit A, in globo p. 5
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                                                   Exhibit A, in globo p. 6
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                                                   Exhibit A, in globo p. 7
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                                                   Exhibit A, in globo p. 8
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                                                   Exhibit A, in globo p. 9
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                                                   Exhibit A, in globo p. 10
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                                                   Exhibit A, in globo p. 11
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Exhibit A, in globo p. 12
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Exhibit A, in globo p. 14
